Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 1 of 28 Page ID #:1




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  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11
 12 JUSTIN KOJAK, Individually and On          Case No.
    Behalf of All Others Similarly Situated,
 13                                            CLASS ACTION COMPLAINT
                 Plaintiff,                    FOR VIOLATIONS OF THE
 14                                            FEDERAL SECURITIES LAWS
          v.
 15
    CANOO INC. f/k/a HENNESSY
 16 CAPITAL ACQUISITION CORP. IV,
    ULRICH KRANZ, TONY AQUILA,
 17 DANIEL J. HENNESSY, NICHOLAS
    A. PETRUSKA, BRADLEY BELL,
 18 PETER SHEA, RICHARD BURNS,
    JAMES F. O’NEIL III, JUAN
 19 CARLOS MAS, GRETCHEN W.
    MCCLAIN, and GREG ETHRIDGE,
 20
                 Defendants.
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                                    CLASS ACTION COMPLAINT
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 2 of 28 Page ID #:2




  1        Plaintiff Justin Kojak (“Plaintiff”), individually and on behalf of all others
  2 similarly situated, by and through his attorneys, alleges the following upon
  3 information and belief, except as to those allegations concerning Plaintiff, which are
  4 alleged upon personal knowledge. Plaintiff’s information and belief is based upon,
  5 among other things, his counsel’s investigation, which includes without limitation:
  6 (a) review and analysis of regulatory filings made by Canoo Inc. (“Canoo” or the
  7 “Company”) f/k/a Hennessy Capital Acquisition Corp. IV (“Hennessy Capital”)
  8 with the United States (“U.S.”) Securities and Exchange Commission (“SEC”); (b)
  9 review and analysis of press releases and media reports issued by and disseminated
 10 by Canoo; and (c) review of other publicly available information concerning Canoo.
 11                  NATURE OF THE ACTION AND OVERVIEW
 12        1.     This is a class action on behalf of persons and entities that purchased or
 13 otherwise acquired Canoo securities between August 18, 2020 and March 29, 2021,
 14 inclusive (the “Class Period”). Plaintiff pursues claims against the Defendants under
 15 the Securities Exchange Act of 1934 (the “Exchange Act”).
 16        2.     Canoo Holdings Ltd. (“Canoo Holdings”) was an electric vehicle
 17 company that touted a “unique business model that defies traditional ownership to
 18 put customers first.” It has announced a delivery vehicle (to launch in 2022), pickup
 19 truck (to launch in 2023), and van, all of which are built on the same underlying
 20 technological platform.
 21        3.     Hennessy Capital was a blank check company formed for the purpose
 22 of effecting a merger, capital stock exchange, asset acquisition, stock purchase,
 23 reorganization or similar business combination. On or about December 21, 2020,
 24 Canoo Holdings became a public entity via merger with Hennessy Capital, with the
 25 surviving entity named “Canoo.”
 26        4.     On March 29, 2021, after the market closed, Canoo revealed that the
 27 Company would no longer focus on its engineering services line, which had been
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                                     CLASS ACTION COMPLAINT
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Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 3 of 28 Page ID #:3




  1 touted in the SPAC merger documents just three months earlier and formed the basis
  2 of Canoo’s growth story.
  3          5.    On this news, the Company’s stock price fell $2.50, or 21.19%, to close
  4 at $9.30 per share on March 30, 2021, on unusually heavy trading volume.
  5          6.    Throughout the Class Period, Defendants made materially false and/or
  6 misleading statements, as well as failed to disclose material adverse facts about the
  7 Company’s business, operations, and prospects. Specifically, Defendants failed to
  8 disclose to investors: (1) that Canoo had decreased its focus on its plan to sell
  9 vehicles to consumers through a subscription model; (2) that Canoo would de-
 10 emphasize its engineering services business; (3) that, contrary to prior statements,
 11 Canoo did not have partnerships with original equipment manufacturers and no
 12 longer engaged in the previously announced partnership with Hyundai; and (4) that,
 13 as a result of the foregoing, Defendants’ positive statements about the Company’s
 14 business, operations, and prospects were materially misleading and/or lacked a
 15 reasonable basis.
 16          7.    As a result of Defendants’ wrongful acts and omissions, and the
 17 precipitous decline in the market value of the Company’s securities, Plaintiff and
 18 other Class members have suffered significant losses and damages.
 19                            JURISDICTION AND VENUE
 20          8.    The claims asserted herein arise under Sections 10(b) and 20(a) of the
 21 Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated
 22 thereunder by the SEC (17 C.F.R. § 240.10b-5).
 23          9.    This Court has jurisdiction over the subject matter of this action
 24 pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. §
 25 78aa).
 26          10.   Venue is proper in this Judicial District pursuant to 28 U.S.C. §
 27 1391(b) and Section 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts
 28 in furtherance of the alleged fraud or the effects of the fraud have occurred in this

                                     CLASS ACTION COMPLAINT
                                                2
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 4 of 28 Page ID #:4




  1 Judicial District. Many of the acts charged herein, including the dissemination of
  2 materially false and/or misleading information, occurred in substantial part in this
  3 Judicial District. In addition, the Company’s principal executive offices are in this
  4 District.
  5        11.    In connection with the acts, transactions, and conduct alleged herein,
  6 Defendants directly and indirectly used the means and instrumentalities of interstate
  7 commerce, including the United States mail, interstate telephone communications,
  8 and the facilities of a national securities exchange.
  9                                        PARTIES
 10        12.    Plaintiff Justin Kojak, as set forth in the accompanying certification,
 11 incorporated by reference herein, purchased Canoo securities during the Class
 12 Period, and suffered damages as a result of the federal securities law violations and
 13 false and/or misleading statements and/or material omissions alleged herein.
 14        13.    Defendant Canoo is incorporated under the laws of Delaware with its
 15 principal executive offices located in Torrance, California. Canoo’s common stock
 16 trades on the NASDAQ exchange under the symbol “GOEV,” and its warrants trade
 17 under the symbol “GOEVW.” Hennessy Capital was incorporated under the laws of
 18 Delaware with its principal executive offices located in Wilson, Wyoming. Prior to
 19 the Merger, Hennessy Capital’s Class A common stock traded on the NASDAQ
 20 exchange under the symbol “HCAC,” its redeemable units under the symbol
 21 “HCACW,” and its units (each consisting of one share of Class A common stock
 22 and three-quarters of one redeemable warrant) under the symbol “HCACU.”
 23        14.    Defendant Ulrich Kranz (“Kranz”) was the Chief Executive Officer
 24 (“CEO”) of Canoo at all relevant times. Kranz cofounded Canoo Holdings.
 25        15.    Defendant Tony Aquila (“Aquila”) has been a director of the Company
 26 since the closing of the Merger and was named an incoming director in the Merger
 27 documents. He served as a Executive Chairman of Hennessy Capital from October
 28 20, 2020 to the closing of the Merger.

                                     CLASS ACTION COMPLAINT
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Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 5 of 28 Page ID #:5




  1        16.    Defendant Daniel J. Hennessy (“Hennessy”) was the Chairman of
  2 Hennessy Capital’s Board of Directors and CEO of Hennessy Capital at the time of
  3 the Merger.
  4        17.    Defendant Nicholas A. Petruska (“Petruska”) was the Executive Vice
  5 President and CFO of Hennessy Capital at the time of the Merger.
  6        18.    Defendant Bradley Bell (“Bell”) was a director of Hennessy Capital at
  7 the time of the Merger.
  8        19.    Defendant Peter Shea (“Shea”) was a director of Hennessy Capital at
  9 the time of the Merger.
 10        20.    Defendant Richard Burns (“Burns”) was a director of Hennessy Capital
 11 at the time of the Merger.
 12        21.    Defendant James F. O’Neil III (“O’Neil”) was a director of Hennessy
 13 Capital at the time of the Merger.
 14        22.    Defendant Juan Carlos Mas (“Mas”) was a director of Hennessy
 15 Capital at the time of the Merger.
 16        23.    Defendant Gretchen W. McClain (“McClain”) was a director of
 17 Hennessy Capital at the time of the Merger.
 18        24.    Defendant Greg Ethridge (“Ethridge”) was a director of Hennessy
 19 Capital at the time of the Merger.
 20        25.    Defendants Kranz, Aquila, Hennessy, Petruska, Bell, Shea, Burns,
 21 O’Neil, Mas, McClain, and Ethridge (collectively the “Individual Defendants”),
 22 because of their positions with the Company, possessed the power and authority to
 23 control the contents of the Company’s reports to the SEC, press releases and
 24 presentations to securities analysts, money and portfolio managers and institutional
 25 investors, i.e., the market. The Individual Defendants were provided with copies of
 26 the Company’s reports and press releases alleged herein to be misleading prior to, or
 27 shortly after, their issuance and had the ability and opportunity to prevent their
 28 issuance or cause them to be corrected. Because of their positions and access to

                                    CLASS ACTION COMPLAINT
                                               4
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 6 of 28 Page ID #:6




  1 material non-public information available to them, the Individual Defendants knew
  2 that the adverse facts specified herein had not been disclosed to, and were being
  3 concealed from, the public, and that the positive representations which were being
  4 made were then materially false and/or misleading. The Individual Defendants are
  5 liable for the false statements pleaded herein.
  6                              SUBSTANTIVE ALLEGATIONS
  7                                          Background
  8            26.   Canoo Holdings was an electric vehicle company that touted a “unique
  9 business model that defies traditional ownership to put customers first.” It has
 10 announced a delivery vehicle (to launch in 2022), pickup truck (to launch in 2023),
 11 and van, all of which are built on the same underlying technological platform.
 12            27.   Hennessy Capital was a blank check company formed for the purpose
 13 of effecting a merger, capital stock exchange, asset acquisition, stock purchase,
 14 reorganization or similar business combination. On or about December 21, 2020,
 15 Canoo Holdings became a public entity via merger with Hennessy Capital, with the
 16 surviving entity named “Canoo.”
 17                               Materially False and Misleading
 18                         Statements Issued During the Class Period
 19            28.   The Class Period begins on August 18, 2020. On that day, Hennessy
 20 Capital and Canoo Holdings issued a joint press release announcing the Merger. The
 21 press release stated, in relevant part:1
 22            Canoo Co-Founder and Chief Executive Officer, Ulrich Kranz said,
               “Today marks an important milestone of Canoo’s effort to reinvent the
 23            development, production and go-to-market model of the electric vehicle
               industry. Our technology allows for rapid and cost-effective vehicle
 24            development through the world’s flattest skateboard architecture, and
               we believe our subscription model will transform the consumer
 25            ownership experience. We are excited to partner with Hennessy Capital
               and we are energized to begin our journey through a shared passion to
 26
 27   1
          Unless otherwise stated, all emphasis in bold and italics hereinafter is added.
 28

                                        CLASS ACTION COMPLAINT
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Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 7 of 28 Page ID #:7




  1        deliver an environmentally friendly and versatile vehicle development
           platform to the market.”
  2
           Daniel Hennessy, Chairman & Chief Executive Officer of HCAC said,
  3        “We are thrilled to partner with Canoo on their mission to reinvent
           urban mobility with a greener, simpler and more affordable portfolio of
  4        EV solutions. Unlike any other EV company, Canoo has created a go-
           to-market strategy that captures both B2C and B2B demand with the
  5        same skateboard architecture and technology that has already been
           validated by key partnerships such as with Hyundai. HCAC has an
  6        abiding commitment to sustainable technologies and infrastructure, and
           we are excited to serve as a catalyst to advance the launch of the Canoo
  7        vehicle offerings.”
  8                                     *     *       *
  9        Canoo’s consumer go-to-market strategy capitalizes on changing
           consumer preferences to deliver a month-to-month, commitment-free,
 10        subscription-based business model. With a single monthly fee and no
           upfront payment, Canoo members enjoy the benefits of an all-inclusive
 11        experience that, in addition to your own canoo vehicle, includes
           maintenance, warranty, registration and access to insurance and vehicle
 12        charging. This go-to-market model is designed to deliver an
           affordable and simplified customer experience while also enhancing
 13        lifetime vehicle revenue and margin to shareholders.
 14        29.    On September 18, 2020, the Company filed its Registration Statement
 15 on Form S-1 with the SEC. The Registration Statement was subsequently amended
 16 on October 23, 2020 and November 27, 2020, making substantially the same
 17 statements as identified herein. The Company also filed its Prospectus on Form
 18 424b3 with the SEC on December 4, 2020, making substantially the same
 19 statements. The Registration Statement was signed by defendants Hennessy,
 20 Petruska, Bell, Shea, Burns, O’Neil, Mas, McClain, and Ethridge. It touted Canoo’s
 21 engineering services, stating:
 22        ENGINEERING AND TECHNOLOGY SERVICES
 23        Canoo’s engineering and technology services business covers all the
           material consulting and contract engineering work that is in high
 24        demand due to our team’s specialized experience and technical
           capabilities in EV development. This business offers a unique
 25        opportunity to generate immediate revenues in advance of the
           offering of our first vehicles and our current pipeline in this area is
 26        supportive of a projected $120 million of revenue in 2021. We expect
           our engineering and technology services business to offer significant
 27        growth potential in the future as projected demand grows for EVs and
           their related technologies, namely in platform/skateboard development,
 28        powertrain, battery technologies and power electronics, among other

                                     CLASS ACTION COMPLAINT
                                                  6
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 8 of 28 Page ID #:8




  1         areas, in which we have substantial expertise. In addition to providing
            external commercial validation of Canoo’s technical capabilities,
  2         these contract engagements establish an attractive strategic pipeline
            for future business opportunities and de-risk our overall business
  3         model.
  4         Canoo’s pipeline for engineering services includes EV concept design
            and engineering services for other OEMs, autonomous driving
  5         strategics and high growth technology companies. There is a significant
            market for contract engineering services among legacy OEMs who lack
  6         the expertise to develop an electric powertrain at the pace needed to
            capitalize on the rising regulatory requirements and global demand for
  7         EVs. Canoo is at a distinct competitive advantage to capitalize on this
            growing demand. In fact, whereas other new EV entrants are forced to
  8         license key technologies and/or outsource primary engineering
            development to larger OEMs, Canoo has already received significant
  9         OEM interest in our skateboard technology and our team’s expertise
            in platform engineering, powertrains and vehicle design, as is
 10         exemplified by the announcement of an agreement between Hyundai
            Motor Group and Canoo for the co-development of a future EV
 11         platform based on Canoo’s modular skateboard technology.
 12         Contract engineering opportunities serve as concrete points of external
            validation for our technology and the talent of our team, as well as
 13         provide additional sources of revenue and long-term commercial
            opportunities (such as skateboard and technology licensing) as the
 14         relationship matures. Canoo is also in discussions with a number of
            other partners and expects to be in a position to announce many more
 15         partnerships in due course.
 16         30.    The Registration Statement also touted Canoo’s engineering services as
 17 a “Competitive Strength[],” stating:
 18         Contract Engineering services offer a separate revenue stream and
            validate the quality of our technology
 19
            There exists significant market potential for contract engineering
 20         services among legacy OEMs who lack the expertise to develop an
            electric powertrain at the pace needed to capitalize on the rising
 21         regulatory requirements and global demand for EVs. Canoo is at a
            distinct competitive advantage to capitalize on this growing demand by
 22         leveraging the extensive knowledge and experience of its world class
            team. In fact, whereas other new EV entrants are forced to license key
 23         technologies or outsource primary engineering development to larger
            OEMs, Canoo has already received significant OEM interest in our
 24         skateboard technology and our team’s expertise in platform
            engineering, powertrains and vehicle design.
 25
            31.    Similarly, the Registration Statement stated that Hennessy Capital’s
 26
      Board considered Canoo’s engineering services and subscription model to be
 27
      “positive factors” supporting the Merger, stating:
 28

                                     CLASS ACTION COMPLAINT
                                                 7
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 9 of 28 Page ID #:9




  1        In considering the Business Combination, the HCAC Board concluded
           that Canoo substantially met the above criteria. In particular, the HCAC
  2        Board considered the following positive factors, although not weighted
           or presented in any order of significance:
  3
                                          *     *       *
  4
                        B2B Engineering and Licensing Opportunities: Canoo’s
  5                      engineering and technology services business includes
                         consulting and contract engineering work that is in high
  6                      demand due to the team’s unique experience and technical
                         capabilities. Canoo’s pipeline for engineering services
  7                      includes EV concept design and engineering services for
                         other OEMs, autonomous driving strategics and high
  8                      growth technology companies. Canoo has already
                         received significant interest in its skateboard technology
  9                      and the Canoo team’s expertise in platform engineering,
                         powertrains and vehicle design, as is exemplified by the
 10                      announcement of an agreement between Canoo and
                         Hyundai Motor Group for the co-development of a
 11                      future EV platform based on Canoo’s modular
                         skateboard technology. In addition to providing external
 12                      commercial validation of Canoo’s technical capabilities,
                         these contract engagements establish an attractive
 13                      strategic pipeline for future business opportunities and
                         de-risk the overall business model.
 14
                  Compelling Financial Model with Long-Term Attractive Margin
 15                and Cash Flow Generation Potential. Canoo’s subscription-
                   based consumer model deviates from the traditional OEM model
 16                of vehicle sales or traditional leases, and can achieve attractive
                   returns by elongating the revenue generation horizon of a single
 17                vehicle over the long life of the asset. Under a consumer
                   subscription model, Canoo generates consistent cash flows, an
 18                estimated margin of approximately four times that of a one-time
                   sale, and compelling return on equity given the leveragability of
 19                the underlying individual vehicle assets (with an estimated
                   advance rate on vehicle bill of materials and production cost in
 20                excess of 80% over time and attractive financing terms through
                   the over half a trillion dollar market for automotive financing
 21                and securitization). Further, Canoo is much less dependent on
                   new vehicle sales creating a considerably more profitable and
 22                resilient business model which is expected to create steady and
                   recurring cash flow. Revenues from traditional sales models of
 23                the last-mile delivery vehicles and contract engineering and
                   licensing opportunities also are anticipated by Canoo
 24                management to have attractive margins.
 25        32.     On December 21, 2020, stockholders voted at a special meeting to
 26 approve the Merger based on the Registration Statement, as amended, and
 27 Prospectus.
 28

                                      CLASS ACTION COMPLAINT
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Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 10 of 28 Page ID #:10




   1         33.   On January 13, 2021, Canoo filed a registration statement on Form S-1
   2 for the issuance of common stock upon the exercise of certain warrants. Therein, the
   3 Company touted its engineering services line and the Hyundai partnership, stating:
   4         ENGINEERING AND TECHNOLOGY SERVICES
   5         Our engineering and technology services business covers all the
             material consulting and contract engineering work that is in high
   6         demand due to our team’s specialized experience and technical
             capabilities in EV development. This business offers a unique
   7         opportunity to generate immediate revenues in advance of the offering
             of our first vehicles and our current pipeline in this area is supportive of
   8         a projected $120 million of revenue in 2021. We expect our
             engineering and technology services business to offer significant
   9         growth potential in the future as projected demand grows for EVs and
             their related technologies, namely in platform/skateboard development,
  10         powertrain, battery technologies and power electronics, among other
             areas, in which we have substantial expertise. In addition to providing
  11         external commercial validation of our technical capabilities, these
             contract engagements establish an attractive strategic pipeline for future
  12         business opportunities and de-risk our overall business model.
  13         Our pipeline for engineering services includes EV concept design and
             engineering services for other OEMs, autonomous driving strategics
  14         and high growth technology companies. There is a significant market
             for contract engineering services among legacy OEMs who lack the
  15         expertise to develop an electric powertrain at the pace needed to
             capitalize on the rising regulatory requirements and global demand for
  16         EVs. We are at a distinct competitive advantage to capitalize on this
             growing demand. In fact, whereas other new EV entrants are forced to
  17         license key technologies and/or outsource primary engineering
             development to larger OEMs, we have already received significant
  18         OEM interest in our skateboard technology and our team’s expertise
             in platform engineering, powertrains and vehicle design, as is
  19         exemplified by the announcement of an agreement between us and
             Hyundai Motor Group for the co-development of a future EV
  20         platform based on our modular skateboard technology.
  21         Contract engineering opportunities serve as concrete points of external
             validation for our technology and the talent of our team, as well as
  22         provide additional sources of revenue and long-term commercial
             opportunities (such as skateboard and technology licensing) as the
  23         relationship matures. We are also in discussions with a number of
             other partners and expect to be in a position to announce many more
  24         partnerships in due course.
  25         34.   Regarding Canoo’s subscription model, the Form S-1 stated, in relevant
  26 part:
  27         Subscription Offerings
  28

                                       CLASS ACTION COMPLAINT
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Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 11 of 28 Page ID #:11




   1         Both our Lifestyle Vehicle and our Sport Vehicle are initially intended
             to be made available to consumers via an innovative subscription
   2         business model. Research from Volvo and the Harris Poll shows that
             74% of drivers believe EVs are the future of driving, but many are
   3         concerned about trying a new technology. 40% of non-EV drivers
             responded that a 30 day “try before you buy” period would increase the
   4         likelihood of them purchasing an EV. In other words, consumers are
             increasingly interested in EV technology, but long-term commitments
   5         (or other hurdles like sizable down payments) remain a significant
             barrier to entry. By reducing the commitment required for a typical
   6         car purchase or lease, we believe the subscription model will help
             reduce the barriers to entry for consumers looking to drive an EV,
   7         while also providing us with a distinct opportunity for recurring
             revenue and a unique profit margin profile. We believe this model is
   8         supported by a number of key trends in consumer preferences and
             strong underlying financial metrics as compared to a traditional one-
   9         time sale model.
  10         35.   On January 25, 2021, Canoo filed its prospectus on Form 424b3 for the
  11 issuance of common stock upon the exercise of certain warrants, making
  12 substantially the same statements identified in ¶¶ 33-34.
  13         36.   The above statements identified in ¶¶ 28-31, 33-35 were materially
  14 false and/or misleading, and failed to disclose material adverse facts about the
  15 Company’s business, operations, and prospects. Specifically, Defendants failed to
  16 disclose to investors: (1) that Canoo had decreased its focus on its plan to sell
  17 vehicles to consumers through a subscription model; (2) that Canoo would de-
  18 emphasize its engineering services business; (3) that, contrary to prior statements,
  19 Canoo did not have partnerships with original equipment manufacturers and no
  20 longer engaged in the previously announced partnership with Hyundai; and (4) that,
  21 as a result of the foregoing, Defendants’ positive statements about the Company’s
  22 business, operations, and prospects were materially misleading and/or lacked a
  23 reasonable basis.
  24                      Disclosures at the End of the Class Period
  25         37.   On March 29, 2021, after the market closed, Canoo held a conference
  26 call in connection with its fourth quarter 2020 financial results which were released
  27 the same day. During the call, defendant Aquila revealed that the Company would
  28 no longer focus on its engineering services line, stating:

                                      CLASS ACTION COMPLAINT
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Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 12 of 28 Page ID #:12




   1        Due to the expansion of our derivatives and the best return on capital, it
            was decided by our Board to de-emphasize the originally stated
   2        contract engineering services line, and this will further accelerate the
            creation of IP and the launch of our derivatives which enhance our
   3        opportunity for the highest return on capital. Once this is complete, this
            will allow us to commercialize the three vehicles we have announced,
   4        our pickup truck, our multi-purpose delivery vehicle or MPDV1, and
            our lifestyle vehicle, all of which sit on our multi-purpose platform,
   5        which we call MPP1.
   6        38.    The same day, the Company also announced that Paul Balciunas, who
   7 served as the Chief Financial Officer of Canoo following the close of the Merger,
   8 had resigned, effective April 2, 2021.
   9        39.    Analysts were quick to point out that this contradicted the strategy
  10 touted in the SPAC merger. Analyst Craig Irwin from Roth Capital Partners stated,
  11 “So I would acknowledge that these are significant surprises on the call today, and
  12 that’s not ideal after a SPAC – the IPO process. So I just wanted to underline that.”
  13 He also asked: “[Y]ou talked about how engineering IP broadens your TAM [i.e.,
  14 total addressable market], but then you announced that you’re de-emphasizing your
  15 engineering services. Can you help us resolve that and maybe give us a little bit
  16 more color about why you would deemphasize engineering given that the original
  17 story was it would subsidize the development and broaden the partner opportunity
  18 with potentially multiple hats under license?” Defendant Aquila replied:
  19        I would say that from a Company perspective, it was a contradiction.
            It hasn’t been a contradiction from my statement. Look, as I overly -- as
  20        I said in the remarks, we look into this and it kind of goes us to your
            first question too with the talent war and everything. Just $25 million, it
  21        would yield us, we at the Board really feel like the best thing to do is to
            accelerate our derivatives and focus our talent on creating IP for the
  22        Company.
  23        You also have a lot of IP leakage when you do this work. And from my
            perspective, if I had been more involved earlier and certainly once I
  24        start, I invested and then took the Chairmanship, we started the
            analysis. I had concerns about this. If you study, (inaudible) you know,
  25        if you can find a partnership or something like that, it can make sense.
            And we’ll continue to look for things, but to be a contract engineering
  26        house is just really not going to drive the best shareholder value.
  27        40.    In another exchange, defendant Aquila conceded that management had
  28 been “aggressive” in their prior statements:

                                     CLASS ACTION COMPLAINT
                                                  11
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 13 of 28 Page ID #:13




   1         Steve Sakanos, Cronos Capital: [D]uring the course of the year, you
             stated a couple of times that you had under discussion with some
   2         OEMs and possibly the contract manufacturer. You said that there are
             going to be some announcements by the end of Q4. I’m just wondering
   3         what happened that changed all of that?
   4         Defendant Aquila: Right. So you’re again owning the past as much as
             the present in the future. Look, I can only speak to what I know about
   5         this. I think that they were focused on maybe a little more aggressive
             than I would be in their statements. I think more maturity of this
   6         team would not be that presumptuous. We only announced what is
             contracted. But year, I think they had the opportunities but they
   7         weren’t at our standard of representation to the public markets. . . .
   8         And then with respect to contract manufacturing, again we wouldn’t
             make an announcement. Again, this comes back to having an
   9         experienced public company here to be careful of the statements you
             make. So again, I think it was a little premature.
  10
             41.    Analysts also sought to determine what caused the change in strategy.
  11
       Analyst John Murphy from Bank of America asked: “I mean, you tweak[ed] the
  12
       business model a little bit. . . . Is there just too much opportunity on the commercial
  13
       side, and you’re kind of putting that sort of back burner, or [is] the subscription
  14
       model still in play?” Defendant Aquila explained that this was a better use of
  15
       capital, i.e. there had not been a change in industry dynamics:
  16
             So great question, John. So look, you know the industry well. If you
  17         think about a membership model, when I came in and took my role and
             we spent a lot of money analyzing the weight that this will have on the
  18         balance sheet. And I think to the point that Craig was talking about the
             changes, I mean, we wanted to bring in people who have a lot of
  19         experience on residual value, balance sheet management, and how to
             build a company at scale. And so you can only have a certain
  20         percentage of your business on membership. Otherwise, you’ve got a
             big cash hit that starts to develop on you as you can probably imagine.
  21         So we’ll be doing that on an appropriate basis.
  22         Had I’ve been here from day one, I can tell you I wouldn’t change
             anything on that MPP is its amazing design, which is why I
  23         compliment the engineering team incredible. What I have changed the
             sequence of tour pass [ph] and use cases I would go after based on my
  24         experience without a doubt, as you can see the modifications we’re
             doing.
  25
             And to your point, when you really think about it on a financial
  26         burden basis on the balance sheet, yeah, there’s probably 80%
             change, but it’s too the mathematical positive. As far as the sequence
  27         of changing the things, we really on the top hat side, which is less right
             here in the 20% to 40% range.
  28

                                       CLASS ACTION COMPLAINT
                                                   12
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 14 of 28 Page ID #:14




   1         So I like the model. I believe in the model. I know the model. It holds
             up mathematically and we’ll walk you through this. And again I
   2         apologize to anybody. As a leader, you always own the past before the
             present or the future. And so I take everyone’s comments in all three
   3         categories.
   4         42.   Another analyst clarified whether the shift in strategy meant that the
   5 “original SPAC model is no longer guidance going forward.” Defendant Aquila
   6 seemingly confirmed the analyst’s suspicion, stating:
   7         [A]t this point, it doesn’t make sense to give guidance until we
             complete the work that we have started. And with all that’s going on in
   8         the SPAC world, in the pre-revenue side, we want to be very
             conservative. . . . Certainly, I do acknowledge your point, Craig, that
   9         you got so to speak as you mentioned, showed a different model. But
             this model is better from a return on capital perspective.
  10
             43.   Defendant Aquila also seemed to acknowledge that the Company no
  11
       longer had a partnership with Hyundai, as he did not correct an analyst who stated,
  12
       “the Hyundai arrangement, the original one, which I am assuming that’s now off the
  13
       table.” Joseph Spak from RBC Capital Markets went on to ask: “You mentioned IP
  14
       leakage as one of the potential problems with that arrangement. Can you just talk
  15
       about like how do you unwind that sort of I guess memorandum of understanding?
  16
       What work was done? Do you think there was any IP-related, [ph] obviously,
  17
       Hyundai coming out with their own electric vehicle platforms as well?” Defendant
  18
       Aquila responded:
  19
             I think what happened is pretty kind of case in point, right. So I think
  20         the Company just like any adolescent company is it’s learning, its way
             and all of us go through it. But it factored in contract manufacturing
  21         based on the labor of engineers, not based on the value of IP, which
             would change the value of that contract significantly. And look we
  22         have experience in this area and we’re very focused on, if we do work,
             one we can protect our IP and we can get the residual value of that in
  23         addition to.
  24         So it’s kind of caused us to say, hey, let’s put that on hold, we have so
             much demand for our three derivatives, let’s get all that work done, and
  25         then let’s look at if there partnerships. Partnerships can work in this
             industry but contract manufacturing work is, as you know, is not the
  26         best business line to be in. And so was there some leakage? Well, I’ll
             leave it to you to make that decision. But obviously, I’m not a big fan
  27         of doing that type of business.
  28

                                      CLASS ACTION COMPLAINT
                                                  13
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 15 of 28 Page ID #:15




   1         44.   On this news, the Company’s stock price fell $2.50, or 21.19%, to close
   2 at $9.30 per share on March 30, 2021, on unusually heavy trading volume.
   3                          CLASS ACTION ALLEGATIONS
   4         45.   Plaintiff brings this action as a class action pursuant to Federal Rule of
   5 Civil Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and
   6 entities that purchased or otherwise acquired Canoo securities between August 18,
   7 2020 and March 29, 2021, inclusive, and who were damaged thereby (the “Class”).
   8 Excluded from the Class are Defendants, the officers and directors of the Company,
   9 at all relevant times, members of their immediate families and their legal
  10 representatives, heirs, successors, or assigns, and any entity in which Defendants
  11 have or had a controlling interest.
  12         46.   The members of the Class are so numerous that joinder of all members
  13 is impracticable. Throughout the Class Period, Canoo’s shares actively traded on
  14 the NASDAQ. While the exact number of Class members is unknown to Plaintiff at
  15 this time and can only be ascertained through appropriate discovery, Plaintiff
  16 believes that there are at least hundreds or thousands of members in the proposed
  17 Class. Millions of Canoo shares were traded publicly during the Class Period on the
  18 NASDAQ. Record owners and other members of the Class may be identified from
  19 records maintained by Canoo or its transfer agent and may be notified of the
  20 pendency of this action by mail, using the form of notice similar to that customarily
  21 used in securities class actions.
  22         47.   Plaintiff’s claims are typical of the claims of the members of the Class
  23 as all members of the Class are similarly affected by Defendants’ wrongful conduct
  24 in violation of federal law that is complained of herein.
  25         48.   Plaintiff will fairly and adequately protect the interests of the members
  26 of the Class and has retained counsel competent and experienced in class and
  27 securities litigation.
  28

                                         CLASS ACTION COMPLAINT
                                                   14
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 16 of 28 Page ID #:16




   1         49.   Common questions of law and fact exist as to all members of the Class
   2 and predominate over any questions solely affecting individual members of the
   3 Class. Among the questions of law and fact common to the Class are:
   4               (a)    whether the federal securities laws were violated by Defendants’
   5 acts as alleged herein;
   6               (b)    whether statements made by Defendants to the investing public
   7 during the Class Period omitted and/or misrepresented material facts about the
   8 business, operations, and prospects of Canoo; and
   9               (c)    to what extent the members of the Class have sustained damages
  10 and the proper measure of damages.
  11         50.   A class action is superior to all other available methods for the fair and
  12 efficient adjudication of this controversy since joinder of all members is
  13 impracticable. Furthermore, as the damages suffered by individual Class members
  14 may be relatively small, the expense and burden of individual litigation makes it
  15 impossible for members of the Class to individually redress the wrongs done to
  16 them. There will be no difficulty in the management of this action as a class action.
  17                           UNDISCLOSED ADVERSE FACTS
  18         51.   The market for Canoo’s securities was open, well-developed and
  19 efficient at all relevant times. As a result of these materially false and/or misleading
  20 statements, and/or failures to disclose, Canoo’s securities traded at artificially
  21 inflated prices during the Class Period. Plaintiff and other members of the Class
  22 purchased or otherwise acquired Canoo’s securities relying upon the integrity of the
  23 market price of the Company’s securities and market information relating to Canoo,
  24 and have been damaged thereby.
  25         52.   During the Class Period, Defendants materially misled the investing
  26 public, thereby inflating the price of Canoo’s securities, by publicly issuing false
  27 and/or misleading statements and/or omitting to disclose material facts necessary to
  28 make Defendants’ statements, as set forth herein, not false and/or misleading. The

                                      CLASS ACTION COMPLAINT
                                                  15
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 17 of 28 Page ID #:17




   1 statements and omissions were materially false and/or misleading because they
   2 failed to disclose material adverse information and/or misrepresented the truth about
   3 Canoo’s business, operations, and prospects as alleged herein.
   4        53.    At all relevant times, the material misrepresentations and omissions
   5 particularized in this Complaint directly or proximately caused or were a substantial
   6 contributing cause of the damages sustained by Plaintiff and other members of the
   7 Class. As described herein, during the Class Period, Defendants made or caused to
   8 be made a series of materially false and/or misleading statements about Canoo’s
   9 financial well-being and prospects. These material misstatements and/or omissions
  10 had the cause and effect of creating in the market an unrealistically positive
  11 assessment of the Company and its financial well-being and prospects, thus causing
  12 the Company’s securities to be overvalued and artificially inflated at all relevant
  13 times. Defendants’ materially false and/or misleading statements during the Class
  14 Period resulted in Plaintiff and other members of the Class purchasing the
  15 Company’s securities at artificially inflated prices, thus causing the damages
  16 complained of herein when the truth was revealed.
  17                                  LOSS CAUSATION
  18        54.    Defendants’ wrongful conduct, as alleged herein, directly and
  19 proximately caused the economic loss suffered by Plaintiff and the Class.
  20        55.    During the Class Period, Plaintiff and the Class purchased Canoo’s
  21 securities at artificially inflated prices and were damaged thereby. The price of the
  22 Company’s securities significantly declined when the misrepresentations made to
  23 the market, and/or the information alleged herein to have been concealed from the
  24 market, and/or the effects thereof, were revealed, causing investors’ losses.
  25                             SCIENTER ALLEGATIONS
  26        56.    As alleged herein, Defendants acted with scienter since Defendants
  27 knew that the public documents and statements issued or disseminated in the name
  28 of the Company were materially false and/or misleading; knew that such statements

                                      CLASS ACTION COMPLAINT
                                                 16
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 18 of 28 Page ID #:18




   1 or documents would be issued or disseminated to the investing public; and
   2 knowingly and substantially participated or acquiesced in the issuance or
   3 dissemination of such statements or documents as primary violations of the federal
   4 securities laws. As set forth elsewhere herein in detail, the Individual Defendants,
   5 by virtue of their receipt of information reflecting the true facts regarding Canoo,
   6 their control over, and/or receipt and/or modification of Canoo’s allegedly
   7 materially misleading misstatements and/or their associations with the Company
   8 which made them privy to confidential proprietary information concerning Canoo,
   9 participated in the fraudulent scheme alleged herein.
  10              APPLICABILITY OF PRESUMPTION OF RELIANCE
  11                     (FRAUD-ON-THE-MARKET DOCTRINE)
  12        57.    The market for Canoo’s securities was open, well-developed and
  13 efficient at all relevant times. As a result of the materially false and/or misleading
  14 statements and/or failures to disclose, Canoo’s securities traded at artificially
  15 inflated prices during the Class Period. On December 10, 2020, the Company’s
  16 share price closed at a Class Period high of $22.00 per share. Plaintiff and other
  17 members of the Class purchased or otherwise acquired the Company’s securities
  18 relying upon the integrity of the market price of Canoo’s securities and market
  19 information relating to Canoo, and have been damaged thereby.
  20        58.    During the Class Period, the artificial inflation of Canoo’s shares was
  21 caused by the material misrepresentations and/or omissions particularized in this
  22 Complaint causing the damages sustained by Plaintiff and other members of the
  23 Class. As described herein, during the Class Period, Defendants made or caused to
  24 be made a series of materially false and/or misleading statements about Canoo’s
  25 business, prospects, and operations. These material misstatements and/or omissions
  26 created an unrealistically positive assessment of Canoo and its business, operations,
  27 and prospects, thus causing the price of the Company’s securities to be artificially
  28 inflated at all relevant times, and when disclosed, negatively affected the value of

                                     CLASS ACTION COMPLAINT
                                                 17
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 19 of 28 Page ID #:19




   1 the Company shares. Defendants’ materially false and/or misleading statements
   2 during the Class Period resulted in Plaintiff and other members of the Class
   3 purchasing the Company’s securities at such artificially inflated prices, and each of
   4 them has been damaged as a result.
   5          59.   At all relevant times, the market for Canoo’s securities was an efficient
   6 market for the following reasons, among others:
   7                (a)   Canoo shares met the requirements for listing, and was listed and
   8 actively traded on the NASDAQ, a highly efficient and automated market;
   9                (b)   As a regulated issuer, Canoo filed periodic public reports with
  10 the SEC and/or the NASDAQ;
  11                (c)   Canoo regularly communicated with public investors via
  12 established market communication mechanisms, including through regular
  13 dissemination of press releases on the national circuits of major newswire services
  14 and through other wide-ranging public disclosures, such as communications with the
  15 financial press and other similar reporting services; and/or
  16                (d)   Canoo was followed by securities analysts employed by
  17 brokerage firms who wrote reports about the Company, and these reports were
  18 distributed to the sales force and certain customers of their respective brokerage
  19 firms.     Each of these reports was publicly available and entered the public
  20 marketplace.
  21          60.   As a result of the foregoing, the market for Canoo’s securities promptly
  22 digested current information regarding Canoo from all publicly available sources
  23 and reflected such information in Canoo’s share price. Under these circumstances,
  24 all purchasers of Canoo’s securities during the Class Period suffered similar injury
  25 through their purchase of Canoo’s securities at artificially inflated prices and a
  26 presumption of reliance applies.
  27          61.   A Class-wide presumption of reliance is also appropriate in this action
  28 under the Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United

                                      CLASS ACTION COMPLAINT
                                                  18
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 20 of 28 Page ID #:20




   1 States, 406 U.S. 128 (1972), because the Class’s claims are, in large part, grounded
   2 on Defendants’ material misstatements and/or omissions.          Because this action
   3 involves Defendants’ failure to disclose material adverse information regarding the
   4 Company’s business operations and financial prospects—information that
   5 Defendants were obligated to disclose—positive proof of reliance is not a
   6 prerequisite to recovery. All that is necessary is that the facts withheld be material
   7 in the sense that a reasonable investor might have considered them important in
   8 making investment decisions. Given the importance of the Class Period material
   9 misstatements and omissions set forth above, that requirement is satisfied here.
  10                                 NO SAFE HARBOR
  11        62.    The statutory safe harbor provided for forward-looking statements
  12 under certain circumstances does not apply to any of the allegedly false statements
  13 pleaded in this Complaint. The statements alleged to be false and misleading herein
  14 all relate to then-existing facts and conditions. In addition, to the extent certain of
  15 the statements alleged to be false may be characterized as forward looking, they
  16 were not identified as “forward-looking statements” when made and there were no
  17 meaningful cautionary statements identifying important factors that could cause
  18 actual results to differ materially from those in the purportedly forward-looking
  19 statements. In the alternative, to the extent that the statutory safe harbor is
  20 determined to apply to any forward-looking statements pleaded herein, Defendants
  21 are liable for those false forward-looking statements because at the time each of
  22 those forward-looking statements was made, the speaker had actual knowledge that
  23 the forward-looking statement was materially false or misleading, and/or the
  24 forward-looking statement was authorized or approved by an executive officer of
  25 Canoo who knew that the statement was false when made.
  26
  27
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                                      CLASS ACTION COMPLAINT
                                                 19
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 21 of 28 Page ID #:21




   1                                       FIRST CLAIM
   2                 Violation of Section 10(b) of The Exchange Act and
   3                         Rule 10b-5 Promulgated Thereunder
   4                                 Against All Defendants
   5         63.   Plaintiff repeats and re-alleges each and every allegation contained
   6 above as if fully set forth herein.
   7         64.   During the Class Period, Defendants carried out a plan, scheme and
   8 course of conduct which was intended to and, throughout the Class Period, did: (i)
   9 deceive the investing public, including Plaintiff and other Class members, as alleged
  10 herein; and (ii) cause Plaintiff and other members of the Class to purchase Canoo’s
  11 securities at artificially inflated prices. In furtherance of this unlawful scheme, plan
  12 and course of conduct, Defendants, and each defendant, took the actions set forth
  13 herein.
  14         65.   Defendants (i) employed devices, schemes, and artifices to defraud; (ii)
  15 made untrue statements of material fact and/or omitted to state material facts
  16 necessary to make the statements not misleading; and (iii) engaged in acts, practices,
  17 and a course of business which operated as a fraud and deceit upon the purchasers of
  18 the Company’s securities in an effort to maintain artificially high market prices for
  19 Canoo’s securities in violation of Section 10(b) of the Exchange Act and Rule 10b-
  20 5. All Defendants are sued either as primary participants in the wrongful and illegal
  21 conduct charged herein or as controlling persons as alleged below.
  22         66.   Defendants, individually and in concert, directly and indirectly, by the
  23 use, means or instrumentalities of interstate commerce and/or of the mails, engaged
  24 and participated in a continuous course of conduct to conceal adverse material
  25 information about Canoo’s financial well-being and prospects, as specified herein.
  26         67.   Defendants employed devices, schemes and artifices to defraud, while
  27 in possession of material adverse non-public information and engaged in acts,
  28 practices, and a course of conduct as alleged herein in an effort to assure investors of

                                      CLASS ACTION COMPLAINT
                                                  20
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 22 of 28 Page ID #:22




   1 Canoo’s value and performance and continued substantial growth, which included
   2 the making of, or the participation in the making of, untrue statements of material
   3 facts and/or omitting to state material facts necessary in order to make the
   4 statements made about Canoo and its business operations and future prospects in
   5 light of the circumstances under which they were made, not misleading, as set forth
   6 more particularly herein, and engaged in transactions, practices and a course of
   7 business which operated as a fraud and deceit upon the purchasers of the Company’s
   8 securities during the Class Period.
   9         68.   Each of the Individual Defendants’ primary liability and controlling
  10 person liability arises from the following facts: (i) the Individual Defendants were
  11 high-level executives and/or directors at the Company during the Class Period and
  12 members of the Company’s management team or had control thereof; (ii) each of
  13 these defendants, by virtue of their responsibilities and activities as a senior officer
  14 and/or director of the Company, was privy to and participated in the creation,
  15 development and reporting of the Company’s internal budgets, plans, projections
  16 and/or reports; (iii) each of these defendants enjoyed significant personal contact
  17 and familiarity with the other defendants and was advised of, and had access to,
  18 other members of the Company’s management team, internal reports and other data
  19 and information about the Company’s finances, operations, and sales at all relevant
  20 times; and (iv) each of these defendants was aware of the Company’s dissemination
  21 of information to the investing public which they knew and/or recklessly
  22 disregarded was materially false and misleading.
  23         69.   Defendants had actual knowledge of the misrepresentations and/or
  24 omissions of material facts set forth herein, or acted with reckless disregard for the
  25 truth in that they failed to ascertain and to disclose such facts, even though such
  26 facts were available to them. Such defendants’ material misrepresentations and/or
  27 omissions were done knowingly or recklessly and for the purpose and effect of
  28 concealing Canoo’s financial well-being and prospects from the investing public and

                                      CLASS ACTION COMPLAINT
                                                  21
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 23 of 28 Page ID #:23




   1 supporting the artificially inflated price of its securities. As demonstrated by
   2 Defendants’ overstatements and/or misstatements of the Company’s business,
   3 operations, financial well-being, and prospects throughout the Class Period,
   4 Defendants, if they did not have actual knowledge of the misrepresentations and/or
   5 omissions alleged, were reckless in failing to obtain such knowledge by deliberately
   6 refraining from taking those steps necessary to discover whether those statements
   7 were false or misleading.
   8        70.    As a result of the dissemination of the materially false and/or
   9 misleading information and/or failure to disclose material facts, as set forth above,
  10 the market price of Canoo’s securities was artificially inflated during the Class
  11 Period. In ignorance of the fact that market prices of the Company’s securities were
  12 artificially inflated, and relying directly or indirectly on the false and misleading
  13 statements made by Defendants, or upon the integrity of the market in which the
  14 securities trades, and/or in the absence of material adverse information that was
  15 known to or recklessly disregarded by Defendants, but not disclosed in public
  16 statements by Defendants during the Class Period, Plaintiff and the other members
  17 of the Class acquired Canoo’s securities during the Class Period at artificially high
  18 prices and were damaged thereby.
  19        71.    At the time of said misrepresentations and/or omissions, Plaintiff and
  20 other members of the Class were ignorant of their falsity, and believed them to be
  21 true. Had Plaintiff and the other members of the Class and the marketplace known
  22 the truth regarding the problems that Canoo was experiencing, which were not
  23 disclosed by Defendants, Plaintiff and other members of the Class would not have
  24 purchased or otherwise acquired their Canoo securities, or, if they had acquired such
  25 securities during the Class Period, they would not have done so at the artificially
  26 inflated prices which they paid.
  27        72.    By virtue of the foregoing, Defendants violated Section 10(b) of the
  28 Exchange Act and Rule 10b-5 promulgated thereunder.

                                     CLASS ACTION COMPLAINT
                                                22
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 24 of 28 Page ID #:24




   1        73.    As a direct and proximate result of Defendants’ wrongful conduct,
   2 Plaintiff and the other members of the Class suffered damages in connection with
   3 their respective purchases and sales of the Company’s securities during the Class
   4 Period.
   5                                       SECOND CLAIM
   6                    Violation of Section 20(a) of The Exchange Act
   7                           Against the Individual Defendants
   8        74.    Plaintiff repeats and re-alleges each and every allegation contained
   9 above as if fully set forth herein.
  10        75.    Individual Defendants acted as controlling persons of Canoo within the
  11 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their
  12 high-level positions and their ownership and contractual rights, participation in,
  13 and/or awareness of the Company’s operations and intimate knowledge of the false
  14 financial statements filed by the Company with the SEC and disseminated to the
  15 investing public, Individual Defendants had the power to influence and control and
  16 did influence and control, directly or indirectly, the decision-making of the
  17 Company, including the content and dissemination of the various statements which
  18 Plaintiff contends are false and misleading. Individual Defendants were provided
  19 with or had unlimited access to copies of the Company’s reports, press releases,
  20 public filings, and other statements alleged by Plaintiff to be misleading prior to
  21 and/or shortly after these statements were issued and had the ability to prevent the
  22 issuance of the statements or cause the statements to be corrected.
  23        76.    In particular, Individual Defendants had direct and supervisory
  24 involvement in the day-to-day operations of the Company and, therefore, had the
  25 power to control or influence the particular transactions giving rise to the securities
  26 violations as alleged herein, and exercised the same.
  27        77.    As set forth above, Canoo and Individual Defendants each violated
  28 Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this

                                      CLASS ACTION COMPLAINT
                                                 23
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 25 of 28 Page ID #:25




   1 Complaint. By virtue of their position as controlling persons, Individual Defendants
   2 are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate
   3 result of Defendants’ wrongful conduct, Plaintiff and other members of the Class
   4 suffered damages in connection with their purchases of the Company’s securities
   5 during the Class Period.
   6                                PRAYER FOR RELIEF
   7        WHEREFORE, Plaintiff prays for relief and judgment, as follows:
   8        (a)    Determining that this action is a proper class action under Rule 23 of
   9 the Federal Rules of Civil Procedure;
  10        (b)    Awarding compensatory damages in favor of Plaintiff and the other
  11 Class members against all defendants, jointly and severally, for all damages
  12 sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,
  13 including interest thereon;
  14        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses
  15 incurred in this action, including counsel fees and expert fees; and
  16        (d)    Such other and further relief as the Court may deem just and proper.
  17                               JURY TRIAL DEMANDED
  18        Plaintiff hereby demands a trial by jury.
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                                     CLASS ACTION COMPLAINT
                                                 24
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 26 of 28 Page ID #:26




   1 DATED: April 2, 2021              GLANCY PRONGAY & MURRAY LLP
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                                  CLASS ACTION COMPLAINT
                                              25
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 27 of 28 Page ID #:27



                         SWORN CERTIFICATION OF PLAINTIFF


                          CANOO INC. SECURITIES LITIGATION


       I, Justin Kojak, certify that:

       1. I have reviewed the Complaint and authorize its filing and/or the filing of a Lead
          Plaintiff motion on my behalf.

       2. I did not purchase the Canoo Inc. securities that are the subject of this action at the
          direction of plaintiff’s counsel or in order to participate in any private action arising
          under this title.

       3. I am willing to serve as a representative party on behalf of a class and will testify at
          deposition and trial, if necessary.

       4. My transactions in Canoo Inc. securities during the Class Period set forth in the
          Complaint are as follows:

               (See attached transactions)

       5. I have not sought to serve, nor served, as a representative party on behalf of a class
          under this title during the last three years, except for the following:

       6. I will not accept any payment for serving as a representative party, except to receive
          my pro rata share of any recovery or as ordered or approved by the court, including
          the award to a representative plaintiff of reasonable costs and expenses (including lost
          wages) directly relating to the representation of the class.


       I declare under penalty of perjury that the foregoing are true and correct statements.



       3/31/2021
     ________________                         _________________________________________
           Date                                            Justin Kojak
Case 2:21-cv-02879-FMO-JPR Document 1 Filed 04/02/21 Page 28 of 28 Page ID #:28




           Justin Kojak's Transactions in Canoo Inc. (GOEV) Common Stock
                                       Account 1
               Date       Transaction Type     Quantity       Unit Price
               1/13/2021       Bought                   100         $19.99

                                     Account 2
               Date      Transaction Type    Quantity        Unit Price
               1/13/2021     Bought                   30           $19.99


             Justin Kojak's Transactions in Canoo Inc. (GOEVW) Warrants
                                       Account 1
               Date       Transaction Type      Quantity     Unit Price
               1/13/2021       Bought                    100         $6.24
